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Exhibit D
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Dear Judge Lamberth,

My name is Michelle La Vergne and J am Devlyn Thompson’s mom.
First, I would like to say Thank You for allowing me to speak to you
about my son. When Devlyn was almost 5 years old he was diagnosed
with having what is called Asperger’s Syndrome, a form of

Autism Spectrum Disorder. What this means is Devlyn has neurological
issues that he was born with. These neurological issues include the lack
of understanding verbal and nonverbal cues, sensory issues, low
understanding of emotional intelligence, difficulty in changing situations,
fixation, and lack of common sense in certain situations. This DOES NOT
mean that Devlyn doesn’t understand right from wrong, or what
emotions are, or that he doesn’t understand

communications. He just understands them in a different way.

] first learned about Asperger’s Syndrome when Devlyn was 4 and |
worked at a place for people with Developmental Disabilities. A
psychiatrist that worked there came up to me and handed me a book and
told me to read it. | asked ‘why’ and he said to me, “I see you coming to
work crying and talking about your son and his behaviors and once you
read this book, your son will make more sense to you.” I went home, and
for days | read and read, and finally things started making more sense to
me about my son. That is when I took him to the doctors and we started
testing for Aspergers.

I would also like to share a story with you to maybe help you understand
what it is like to be a person with autism. When [ worked at this

place, we had to have continued education classes and in one of these
classes we were told we are going to play a game. The scenario is there
are 5 tables and at each table there were a deck of cards and rules on
each side, we were told that we cannot speak during this game no matter
what or your out of the game. We paired up and started playing, after
each hand was played we would move to another table. We all kept
looking at each other with angry faces, a few of us slammed our hands on
the table showing frustration. In my mind I couldn’t figure out what the
heck was going on and why these other teams were not playing the same
as we were. Finally, it was over and our instructor gave us the go ahead
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to speak... and boy did we. We were calling each other bad names and
saying each other were cheaters. Our instructor asked us how we felt
during that game and all of us said we were angry and couldn’t
understand why the other teams were playing differently. The instructor
said that we were all given different rules to play the game and went on
to explain that this is how people feel when they can’t communicate in
the same way other people do.

Playing this game opened my eyes to how my son could be feeling. Even
though he was very high functioning, his mind didn’t work like mine and
he sees things differently than myself and anyone else that is considered
‘normal’,

When Devlyn was young child, he had a hard time with his peers because
they were not on the same intellectual level as him or enjoyed the same
topics as him. Devlyn fixated on sports, statistics, and government as far
back as | can remember. He even took AP Government classes

in high school. He then also started to play sports which helped him with
some social interaction. We lived in a small town where everyone knew
everyone, we had our village,and I kept Devlyn in the same school
district from K-12 so he would have consistency with the people around
him and learn to trust his surroundings so he could grow up with having
the same friends and feel comfortable in some social situations. Devilyn
helped me EVERY year in setting up for Buckley’s Tree Lighting
Ceremony, he helped me with MANY events in our little town that we
had lived in.

Mind you, I barely ever brought up his autism to him but I always
addressed it to others so they would understand him. I raised my son to
grow up having confidence in his thoughts, confidence in who he is,and
confidence in his choices. Devlyn has never put himself in a situation that
would either harm him or harm someone else. He doesn’t have that type
of mentality.

On January 6th, this was the first time Devlyn had EVER gone to a Trump
Rally on his own. His brother, William Thompson Jr., who moved to
Georgia with him at ALL the others. On this day William’s flight didn’t
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leave SeaTac until the 7th of January. So, Devlyn drove to Washington DC
overnight from Georgia to be part of the rally on January 6, 2021. Had I
even known that this rally would go to the extreme that it would, | would
have told Devlyn not to go.

No one that Devlyn surrounds himself with supportsviolence. Everyone
we know was ALWAYS there for Devlyn, especially his Great Grandma
Betty, who is no longer with us. When he would have severe anxiety and
I didn’t know how to handle it, he would go see her and he would be
calm. Devlyn has a very difficult time understanding facial cues, and if
Devlyn is told something by someone he trusts, he is going to follow
what that person says. This could be very dangerous for him in a prison
setting. Since Devlyn left home at 18 after he graduated high school, he
has only lived alone for 2 months in Seattle. He has either lived with
friends or his family. He moved out of Seattle and moved to my house in
Graham, Wa in June of 2020 because of CHOP. He lived on the same
street just one block down. He got punched in the head and called the
police and they would not come. So, he stayed with me until he moved to
Georgia at the end of June 2020.

As a kid, he would get bullied by people he thought he could trust
because he couldn't recognize their behavior as being mean in the
moment.

Our family is deeply sorry, as I know Devlyn is, for that officer if he felt
endangered by Devlyn in any way shape or form. In Devlyn’s mind, he
truly felt like he was protecting himself from getting pepper sprayed
again. We know that the officer had no idea that my son is autistic and
that Devlyn meant no harm or any ill intent towards that officer when he
knocked the canister out of his hand with the baton. Devlyn also only
tried to get the other officer that was pushing the lady down to stop by
telling the officer to quite pushing her down and when that didn’t work,
he said “do you want to fight?” not meaning it literally.

None of the people we know or Devlyn are condoning the violence on
January 6«, We all find it very gross and very disturbing. Devlyn didn’t
actually know what the extent was until he was asked to go back and
look at videos with his first lawyer Tom Durkin and the FBI. Then Devlyn
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understood the severity of what the rest of America was seeing. He didn’t
understand in the moment, why shields were being passed back, but he
thought when they were coming forward that they were going back to
the police.

If you understand Autism, you can understand the simplicity and the
complexity of minds like Devlyn’s. Devlyn is truly a great son, a great
step-son, a great brother, a great grandchild, a great nephew, and a great
friend. He would do ANYTHING to help someone.

Your Honor, I wish that you could see the same Great Young Man that
everyone in Devlyn’s life sees. Devlyn has a great support group and
Devlyn will never put himself in this kind of situation again. Now that we
all know what to look for and have a better understanding of what the
laws are, I promise you Devlyn will NEVER be in trouble again.

I fear what prison would do to my son and I will worry every second
until he comes home. All of us who wrote letters on his behalf hope that
you will show mercy. We are not using his autism as an excuse, but we

tell you about it so that you can better understand why he put himself in
the position he did.

Thank you for taking the time to hear me out.

Sincerely,

Michelle La Vergne
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To Honorable Judge Lamberth

My name is James Lavergne I am Devlyns stepfather. ] am 48 years old and a
22 year commercial journeyman plumber. I met Michelle Devlyns mom and his
brother Carlin at the end of 2004. Devlyn was 11 years old. When I met Devlyn
I could tell he was very intelligent for his age. Devlyn and I hit it off very weil.
[ have allot of experience with sports, football especially. I played all pop Warner and high school.
One year semi pro and five years of coaching at Orting high school. I was amazed at how much
Devlyn knew about the dynamics of football. At that age he knew more about offense and defense
and strategies then I did even with my knowledge and background. Devlyns passion for sports was
very intense. He and I were able to bond with sports in common. He carries that passion even to this
day.

Devlyns love for his mother and great grandmother (Betty Firman) is the only thing that was
more apparent than his passion for sports. Devlyn loved going to Bettys house just to be with her as a
young boy into his teen years. They would play cards put puzzles together and just hangout together.
Once he started getting older the teen life occupied allot of his time. Not only did he fixated on sports
not just watching them but playing them as well. He and his friends spent allot of time playing
basketball in the park and pickup games of football.

Devlyn has always been a caring person. When Devlyn was 13 Michelle and I had his little
brother Braeson he was so excited. His help with his younger brothers was aw inspiring which I
attributed to his intellect. When Devlyn was in high school he wanted to help his best friend Matt
Spurgeon who needed a better living situation, We took Matt in and he is now part of our family. All
because Devlyn cared about him

After graduating high school Devlyn went out into the work force to try and find his way. He
found a spot in real-estate development and is very good at it. Devlyn is a good person with a good
soul. He got caught up in a bad situation. I ask the court to please show leniency on him. As Devlyns
stepdad who watched him grow into a wonderful young man I will continue to support and stand
behind him

Sincerely James La Vergne
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William Thompson

    

Helio, Devlyn is my son, and I would like to say a few things. I still have hard time
understanding how this all happened but here we are. | have talked with my son, and it took a little
lime for him to tell me the whole story. 1 truly feel that he understands how wrong his actions were
that day, | know that there are consciences for what he did but before this he had a great job was
getting promotions and doing good now that is all gone. As a father I’m hoping that the punishment
satisfies the court but also gives my son a path to start rebuilding his future.

Please feel free to contact me at any time. and of course thank you for your time and consideration.

Wilham Thompson

Lee

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(ale © fo—

 
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Carlin Stoll

 

To: Honorable Judge Lambreih

Deviyn Thompson is my older brother, and we have lived our whole lives together. We grew up
in the same household, and then after a couple cf years apart as adults, we decided to move
back in with each other. So we ended up living together for almost three years before our lives
and jobs took us on different routes.

Given the time Devlyn and | have spent together, | have never seen or heard any ill intent from
him. On the contrary, he comes with a warm heart and the best intentions in mind. | identify
within the LGTBQ+ community and came out to my friends and family at a very young age.
Every step of the way, Deviyn was by my side with support and love. We grew up in a smail
town where everyone knew everything about you; if anyone ever said anything to me or about
me, he always stood up for me in the most supportive and caring way. The way he looks out for
me continues to this day, always wanting to motivate and influence me to pursue my dreams
and work hard while doing so. Devlyn has always encouraged me to be a better person than
who we were yesterday. We come fram a background of low incame and troubled childhoods
that have passed on through multiple generations, which motivates him to work harder each day
to achieve his goals. Today as | write this letter, | received a note from Devlyn that he wrote
while in the detention center. | want to share a piece of that with you. He writes: “l made a
choice early on that you can either sit and sulk or use this time to ensure betterment as a
person’ ‘I've read just shy of 9,000 pages and over 40 books so far. Set a goal of 10,000 pages
and 50 books after my first week here, but it looks like | will need to increase that goal now.”
Even after a traumatic year and experiencing an overload of unfamiliarity in the detention center,
he maintains positivity and eagerness to keep learning.

With ail the barriers life has placed on him and his inability to understand social cues/
interactions, he doesn't let that defeat him. Instead, he looks to grow and persevere. He has
done this by reflecting and seeking guidance from others, always willing to admit his faults while
seeking ways to grow from them rather than repeat them.

With the information | have shared, | ask that you consider who he is. Consider his willingness
to grow and learn. This young man you are deciding a future for can reflect, learn, and grow
from experiences. Not many of us are naturally capable of that. | ask that you be lenient with his
sentencing and allow him to grow from this experience properly. | know he will use this
experience to better himself, and the support he will receive from all of his family will only help
him even more. | am personally ready to stand by my older brother for anything he needs to
better himself.

Thank you for your time.

Sincerely,
Carlin Stoll

Carbie Stell
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William E. Thompson Jr.

   

To Whom It May Concern:

Hello, my name is William, The younger brother of Deviyn D. Thompson. Although
I didn’t live with my brother early in my life, we have always been close. 19 almost 20 years
of cherished memories and moments.

I’m writing this letter in hopes to reveal the true good nature and character my
brother has. [ understand that my brother has pied guilty, and | understand that there are
consequences to his actions. However, Deviyn has been a purely positive aspect in my life and
so many others. He’s been everything a big brother should be. Not just buying your little
brother food or taking him to a baseball game. He let me move in with him in Georgia so I
could go to school and start my career. A career that he was able to push and motivate me
into. It’s hard to deseribe in words the just how big an impact my brother has had on my
life, to quantify the value and love he brings into the world. Bat now I’m stuck without my
brother, my best friend, my teacher... and any other roles he has filled.

1 or anyone else that you ask will be able to confirm this. But now F beg that you show
him mercy. This one mistake shouldn’t hinder or reflect the rest of his life. Thank you for
your time, and I hope this short letter can convey my feelings.

Sincerely, William E. Thompson Jr.

x U

William E. Thompson Jr.
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November 27, 2021
Dear Honorable Judge Lambert’s,

My name is Deborah Orr, I am Devlyn Thompson’s grandmother and have known him since
birth. Devlyn has always been there for his brothers even when they would make a mess. He
would always hurry and clean it up so they wouldn’t get in trouble. Devlyn always was there to
help my mom, his great grandma, who now is passed. They were very close to each other.
Devlyns autism was a challenge and times because he would scream and scream and there was
no way of calming him down until he was done, however, his heart always over shadowed that.
When he would go into his screaming episodes I would talk to him about sports and that would
calm him down. I’ve seen Devlyn help his mom when she was in charge of the Buckley Tree
Lighting Ceremony in their home town of Buckley. My grandson truly has a heart of gold and I
hope you can see that. ] am here to support my grandson in any way possible. This situation Is
new for us and I am asking your Honor to please show Devlyn as much leniency as you would
to a young child. Thank you for taking the time to read this and God Bless.

Sincerely,

(24 L.. LXE.

Deborah L. Orr
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Honorable Judge Lamberth,

My wife and I, Therese M and Gary M Brown, are writing this letter as a character
reference for our grandson Devlyn Thompson.

Devlyn grew up in the small Washington town of Buckley. A place where you
practically knew everyone and if you did something you shouldn't as a child, you
would certainly know about it quickly. Even as one grew into adult hood that pretty
much stayed the same and to a large degree it is still the case in Buckley. We thought
about it and cannot think of a time he got into trouble enough to be "reported" by
that town network, much less by the police. Devlyn was a good kid who did well in
school and did all the normal things kids do and as an young adult started working
and because of his good work ethic and attitude, did well and advanced pretty
quickly in his work endeavors in Seattle and later in Atlanta.

He was always a respectful and helpful young man who we liked to have visit us
along with his family and since it was only a ten mile drive to our home it was often.
If his dad (our son) was helping me with a farm project Devlyn would be there as
well, working along side the rest of us.

We are proud of the man Devlyn has grown into. Smart, friendly and with a big heart
and a good moral compass. We look forward to his coming home.

My wife and I hope this letter will bear well on your court actions concerning
Devlyn.

Respectfully, JS an Denn. )

Therese and Gary Brown

   
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To Honorable Judge Lamberth

| am writing this ( actually typing) ,my writing hand shakes, it’s hard to
read my writing.

My name is Jack Bono Sr.( Deviyn’s Uncle). | served in the military during
Vietnam, honorably discharged. | am a current member of VFW post
19719,| worked for Boeing for 37 years, after college. Married My High
Schoo! sweet heart , been married For 38 years.

i have been a boy scout leader, baseball , football coach. Peewee football
Athletic Director. Father of 4 boys, and tried to be a role model for many of
young kids in my community for the last 40 years.

| watched and was in devlyn’s life as he grew up, tried to be a role model
for him , as his father was not in his life very much growing up, his mother
was always in his life, he was her pride and joy and doted on him, his
great grandmother was in his life a lot and she spoiled the kid. Her and |
would have discussions about her spoiling the kid, what ever he needed
my mother ( his great grandmother ) would make sure he had, if his
mother could not afford it. ) He was not wanting for anything ( accept his
father being in his life)

Devlyn never had ill feelings about his dad not being around much, he
loved his dad very much | did not like his father (| know what a good
father was all about, and his dad was not one) .you bring a child into this
world it is your responsibility to raise him, he did not

To me Deviyn was different than other kids,he had a tough time playing
with other kids when he was younger ,at 12 years old this kid knew more
about sports facts than most adults. It was freakish. One time | took
Devlyn to a Huskies game, setting on bleachers in the end zone, 2 college
kids were arguing or discussing some football facts, Devlyn was setting
one row down from them ,turned and corrected the 2 college students
about there facis, there ensued a discussion for 5 or 6 minutes, pretty
soon a bunch of people were watching this12 year old kid hold his own in
discussion with these 2 college kids, ,he was not mean about it he was
just stating facts, they got up and left after they were showed up by a 12
year old maybe to get some food? It was hilarious. | said for a while this
kid is not normal. | believe sometime later he was diagnosed with
aspergers syndrome or autism ...something along that lines. | just knew
he was different, to the degree | told my Boys to keep an eye out for
Devlyn,( as all my boys went to school with Devlyn) he would get

in discussions with other kids, often over sports facts and this kid knew
his stuff , he wouid show up the other kids and they would resort to
wanting to beat him up, he was different, | told my boys to keep an eye
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out for Deviyn and make sure kids knew he is different and they were not
to touch him. | told my boys not to fight his battles or back him, just get
him out of the situation and tell him to shut up. He could be having a
discussion with 4 or 5 kids and they want fo kick his ass , because he
proved them wrong and it did not register with him that there's 4 or 5 of
them and only one of me!

My boys made the comment that he needs his ass kicked , then maybe
he would quit running his mouth, so much, | explained to my boys that he
was different he has a sickness or something ,that he is wired differently
than you and me. He was not a mean kid, never saw him picking on other
kids.

Devlyn always got good marks in school, he did not skip school, he
gravitated towards playing Basketball.

As he got older he was always there for his great grandmother, if she
needed anything he was there for her

| have not been around deviyn much these days , now that he is older
and moving around the states where ever his job takes him.

The times | have seen him and talked with him, more so lately, he
appears to be doing good, taking care of himself not calling home to ask
mom or dad for help.

| have served under great men,] have worked with some great men, there
are some | have tried to model my self after, | know what a great man
is.... | am a pretty good judge of character..... | think devlyn is a good kid
on the road to becoming a good man He has the making of being great
man by the end of his life and understands he has younger brothers that
look up to him and he has a responsibility to be a good role model for
them. | supported Devlyn growing as [| do all my Family members and will
continue to do so whatever the outcome of his current situation ensues.
He’s a good kid and if ever needs my support now or in the future, | will
be there for him.

| took the time write this in hopes that you would fined a way forward that
would benefit all and at the same time send a clear signal that there are
consequences to every action. Putting Deviyn behind bars is a waist of tax
payers monies, he is not a violent person, he has a good heart, to have
Deviyn serve community service would be much more beneficial to the
public as he has many skill sets to offer any organization, young or old,
he’s a very smart kid.
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Thank you
Jack Bono sr orl te SGD
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Dear Honorable Judge Lamberth,

My name is Mathew Lavergne Spurgeon and I have known Devlyn Thompson for 15
years and is like a brother to me. When I was 15 my grandparents passed away and
sine they raised me, I couldn’t find a balance in my life after they passed. | had
stayed at a few friends houses and that didn’t work out. At this time point in time

I had barely known him.

He found out that | was getting kicked out of the place I was living and offered me to
come live with him at his house. Obviously he needed to talk to Michelle {I call her
mom) and Jamie his parents.

They did say yes to living with them and that’s how we became like brothers.
Another story, I tripped and fell one night when I snuck out of the house and had to
be transported to Harberview Hospital. Devlyn stayed with me the three days I was
there. J still spend pretty much every holidays with him and this year he was missed
terribly.

I would also want to say that living with him I seen his autism in action a lot. From
playing basket ball and someone not following the rules as if it was a NBL games. He
would get so mad and frustrated he would start calling people names and even got
his jaw broken from a older man on the basketball court. There were a a lot of times
Thad to protect Devlyn. Devlyn is not like most people and he doesn’t understand
how to communicate the right way nor does he understand sarcasm.

I hope you will take the time to find it in your heart to give Devlyn the lowest
amount of time possible or even house arrest with his mom. Devlyn would never
survive prison and we will miss him and worry about him constantly. I will be there
amongst the family and friends to support him in any possible way. Thank You

 
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Iam Melissa Stoll, his brothers, Carlin Stoll, stepmom. I have known Devlyn since he
was 8 years old. 1 watched him grow up, along side with my son, Oryan into young
men.

I am writing this letter because we are family. He has always been there for us and
we will continue to stand behind Devlyn. I respect that Devlyn has plead guilty. I am
writing this letter so you can understand Devlyn. Devlyn had to deal with his own
struggles growing up as a child. Devlyn played basketball and was always part ofa
team and knows what it takes to better himself. When offered his last career ina
industry he hadn't worked before he flourished and was in management within less
than a year.

I thank you for taking the time reading my letter. If you should need to verify the
facts of my letter please reach out to me to my phone number or email listed below.

Thanks,

issa oe

Mel

  
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Dear: Honorable Judge Larmberth

My name ia Corisiopher Charbonneau U.S Navy Combat War Veteran, uncte to Devlya. 1
heve known Deviyn Since he was born and I was in the room for his birth, [ had the great
opportunity to watch him arow ard become the man he had become, As a character he
has a huge heart and believes in trying to do the right thing and wants to help the people
around him, he is the type of person whe would give the shirt off his back if he thought it
would help. Anyone who knows Deviyn, knows he is a loving caring person and f ask
that the court be as merciful and show leniency to him. Im here for him and ready to
support hiro in any way | can. If there is any questions my number is :

 

Sineerely: Christopher Charbonneau

 
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December 2, 2021

From: Mindy Anne Bradby

 
 

Dear Honorable Judge Lamberth,

Hello, my name is Mindy Anne Bradby, | have known Devlyn Thompson since he was in his
mother’s tummy, and | was there in the room when he was born. His mother, Michelle La
Vergne and | have been friends for 35 years and | look at Devlyn as being my nephew, just as
Michelle fooks at my kids as her niece and nephews.

Being in Devlyns life | have seen his struggles and his successes.

As a young boy he struggled to communicate his needs to his mother and anyone else around
him even though he had a high vocabulary that most kids his age did not have. Michelle knew
something wasn’t right with her son when others just see him as being ‘spoiled.’ Michelle
always said, “he is not spoiled, he is loved.”

Michelle went to so many parenting classes hoping to get answers, however, could not find
anyone to explain why her son is so different then most kids his age. | don’t remember exactly
how it came about her finding out about his autism but, | do recall him being around the age of
him starting school, Autism back then still had the stigma that if you're autistic you are wheel-
chaired bound and uncommunicative. When she told me about Deviyn being diagnased with
Aspergers Syndrome, a form of autism, | was very intrigued to know what that meant. | began
to educate myself to support her and Devlyn in any way [ could.

Devlyn struggled a lot with his peers as a child being picked on and constantly getting in trouble
in school. | remember Michelle telling me that she asked the school to please give him more
homework in grades above his to see if that will help some of his behavior issues and it helped.
Devlyns mind works so much differently than yours, mine and so many other people in this
world that we may call ‘normal’. Even as Devlyn got older, Michelle did everything she could to
address his autism with other peaple because his words could get himself inte trouble and
when Devlyn is in fear of something he would scream, bite and hit himself or try to go after his
mom because he couldn’t figure out how to express his fears. Michelle knew how her son‘s
mind worked when the rest of the people or his peers didn’t understand him. Michelle took the
opportunity of living in a small town and helped create a village for Devlyn and his brothers,
knowing she couldn’t raise him without it. She teak every opportunity to teach Devlyn about
the world around him so he could live a somewhat normal life. Had ANYONE of us in Devlyns
life thought that January 6" would turn out the way it did, WE ALL would have found a way to
express to Deviyn in a way he would understand that it was not safe to go. Devlyn is a very very
caring person who would give the shirt off his back to ANYONE he felt needed it without even
thinking that a person is just manipulating him to get something for their own selfish reasons.
Deviyns mind is so naive because of how simple he believes this world is to him. He believes
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that EVERYONE is his friend even if we can see that their intentions are not good. Devlyn hasa
small group of real friends that would do anything to help him, he has a family that would do
anything for him and extended family such as myself,and many others that will help support
him in any way we can.

Devlyn is loved very much, and | would just like to say to your Honor, if you do not understand
Autism, please take this time to let the rest of us help you to understand. Please give Devlyn all
the leniency that your Honor is available to do and help Devlyn to seek more therapy to
understand what type of cues to look for.

| do want to mention that Devlyn also has struggled with finding the right employment for
himself up until about 2 years ago. He finally found something he was great at and now he no
longer has that job due to him being at the Capital.

Deviyn trying to find his place in this world, it is very difficult for those who are autistic. Needing
constant encouragement to keep going forward. | have an autistic daughter so | see the

difficulties in her life and can relate to Michelle and Deviyn very well.

Thank you, your Honor, for taking the time to read this letter.

Sincerely,

Mindy Bradby

WE .adkb
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Anthony T. Gilge

    

Hello, my name is Anthony Gilge. Pm a 19-vear-cld student at Green River
Community-Coilege. | met Devlin through his younger brother around 10 years ago. I’ve got
to spend time with Devlin quite a few times and understand who he is as a person.

[Pm writing this letter to give a better example of who Devlin is. I respect the fact that
Devlin pleaded guilty and would like to give an example of his character. Devlin has always
given me the impression of being a good role model and takes care of the people he loves. I
have seen him talk with his younger brother on multiple occasions and was always really
guiding and cares about his family’s future and success.

I would like the court to please show merey. Thank you for your time and
consideration. Please feel free to contact me at any time.

Sincerely, Anthony T. Gilge |
Anthony PRI

 
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Stephanie Wittig

 

12/2/2021

To: The Honorable Judge Lamberth

Re: Character Reference for Court Regarding Devlyn Thompson
Your honor:

My name is Stephanie Wittig and | am a clinical mental health therapist with a master’s degree in
mental health counseling.

| am writing this character reference letter about Deviyn Thompson who has been like a nephew to
me for his entire life as his mother and | have been close for over 30 years.

| am aware Deviyn was charged with a couple of crimes from the white house riots. He has been very
remorseful and feels guilty about the entire situation. Deviyn also has a diagnosis of autism and in
many respects this diagnosis impaired his ability to manage social cues appropriately and has also
impaired his impulse control.

During which time | have observed Devlyn to be kind, hardworking, caring, giving and generous.
Deviyn has always prioritized his family and friends. Deviyn is a hard worker who takes pride in his
work regardless of what that may be. | have never witnessed any violence towards anyone.

| would request that the court be as lenient and merciful as possible in this case. | am absolutely
prepared to support Devlyn in anyway possible in this matter.

| hope you consider my reference letter when determining the outcome of this case. Devlyns,
kindness and compassion make him a valuable member of society.

Sincerely,

Stephanie Wittig-Ms, LLPC, DP-C

Stephanie Wittig MS, LLPC, DP-C
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Dear Honorable Judge Lamberth,

Deviyn and | met back when we were seventeen years old when we both
traveled to Eastern Washington University for a campus tour and ever since that trip |
would consider us not only best friends but he’s a brother to me. | lived in Chehalis and
he lived in Buckley but we consistently made effort to visit each other until we
eventually both moved into my mom’s house a couple years out of high school until we
got our own apartment in Tigard Oregon before he eventually moved back to
Washington a year later. My mother was heartbroken over this situation as she loves
him like her own son.

| have known Devlyn for for over 11 years and he is a good person that has
always been there for his family and friends. Out of my closet friend group (he lives the
farthest) he was the only one to show up late night/early morning to the hospital to be
there for the birth of my daughter. | trust him with my life and if something had
happened to myself and the mother he was willing to take care of our daughter. He is
the type of person that gets joy from helping and giving back to others and he has help
me grow as a person.

We all make mistakes and he is aware of his actions and | ask that you please
be merciful and as leninent as possible. | miss being able to see nim or be able to talk
to him whenever we could and even our conversations now he has kept me optimistic
even in these circumstances. Regardless of what happens in court I will be there and
support him in any way | possibly can. | will be there on December 20th for him and if
you need me to attest to his good character | would do it in a heartbeat.

Sincerly,

E

 
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Dear Honorable Judge Lamberth,

Devlyn and | have known each other since high school. He has been one of my closest friends
since our senior year in 2011. He’s been there for me through thick and thin including giving me a place
to live for a few weeks during 2012. Deviyn isn’t just a friend to me, he is a brother.

Over the time that I’ve known Devlyn, there are many things about his character that are
certain. First, while sometimes he doesn’t show it the way most of us might, he has a huge heart and
genuinely cares about the welfare of others, especially those he cares about. | like to think of him as a
protector in a sense. There was a kid that went to school with us that Dev always made sure to include
and stand up for regardless of his social/cognitive differences. This kids name was Alex, and
unfortunately Alex fell victim to bullying on multiple occasions, even after we graduated high school.
Devlyn, never let this happen when he was around and stood up for Alex when ever he had the
opportunity. Devlyn also spent a lot of time helping his grandmother toward the later years of her life.
This ranged from sitting down and solving puzzles with her to doing household chores and running
errands for her.

Second, Devlyn accepted and loved people for who they were, not what they could provide. |
believe this says a lot about one’s character. He sees past people’s flaws and recognizes their greatness.
His relationship with Alex as previously stated also shows this trait. Bias’s, stereotypes, rumors,
xenophobia, racism, and homophobia are all things Devlyn stands against. His network of friends
includes people of all races, all sexual orientations, all income levels, and all political and religious views.
Devlyn genuinely accepts anyone for who they are.

Lastly, Deviyn is very passionate about the things and people he cares most about. Whether its
sports, work, or his personal life, he never gives anything less than 100 percent. Some of my best
memories with Devlyn come from playing pick up basketball wherever we could even if we were the
underdogs. Devlyn was also very passionate about his dog Nimbus. He would take that dog every where
with him even when he moved across the country for work. Devlyn, is also a great older brother and role
model for his younger brothers Carlyn, Junior, and Braeson.

While Deviyn has never let his autism define who he is, given his condition, | worry as his best
friend about both his mental and physical health/wellbeing in captivity. As one of Devlyn’s closest
friends, | ask that the court shows leniency and mercy when deciding on a sentence for Devlyn’s actions.
What ever the court does decide, i, Trenton Rohm will be there to support him in any way possible.

Sincerely,

Trenton G. Rohm
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To the Honorable Judge Lamberth,

My name is Tyson Hess, and I’m writing on behalf of my friend, Deviyn Thompson. I have known
Devlyn for approximately 14 years. We were inseparable best friends during ali four years of high school,
and as early adults, we were roommates. He is one of the few people from my younger days that [ have
kept in touch with, even as we’ve grown older and moved to different states while pursuing our individual
goals. My hope ts that I can, in a few paragraphs, provide you with a more multi-dimensional picture of
the person I have known Devlyn to be.

i could simply list a string of adjectives that I would, without reservation, attach to Devlyn—caring,
compassionate, funny, generous, goal-oriented, constant in friendship, and responsibie in his work ethic, |
hope those traits will be evident in the brief stories | share with you.

The summer before my freshman year of high school, my older brother was killed in a car crash caused
by a 17-year-old drunk driver. We lived in a smal] town with one high school, and when I began my
freshman year, the person who killed my brother, who had been released to his parents, began his senior
year at the same school, and I saw him every day at the locker across from mine. I didn’t want to go to
class, I lost motivation to do any of my school work, and | was very depressed. It was my friend Devlyn
who dragged me to class every day, who did homework with me to make sure I got it done, who made
sure I didn’t fail, and who listened to me when | needed a friend the most. In some ways, he saved me
during one of my darkest times.

I’m not the only recipient of Devlyn’s innate kindness. | remember going to the skate park by the lake and
seeing a younger kid being bullied and harassed. Devlyn didn’t know the kid, but he defended him until
the bully backed down, and then he made sure the kid was OK. When we were hanging out at my house
when we were teenagers, he would do chores for my mom that no one asked him to do, just to be helpful.
When we got older, Devlyn, on multiple occasions, would let people stay at his house when they had
nowhere else to go, or give them his own money or buy food for them when they needed it. When I had to
move from Seattle to Denver, Deviyn took a week off work just to accompany me on the trip so I
wouldn’t have to go alone, and he actually drove most of the way and let me sleep. A few years ago, we
met in Hawaii for a vacation, and since I was not as financially sound as Devlyn was at the time, | was on
a tight budget, so he paid for us to do a lot of things around the island I couldn’t have afforded—just so
we could do them together. Even though we were on vacation, he also chose to be responsible for the
success of his company back home, conducting video conferences and phone calls to make sure the work
continued smoothiy even in his absence, In my experience, Devlyn has always been a good person with a
good heart who wants to do the right thing.

The event that led to Devlyn’s current interaction with the court is out of step with the person I have
always known him to be. I don’t deny that he had a serious lapse in judgment, but one of the things |
know about Devlyn through our friendship is that he is the kind of person who learns from his mistakes.
That is why [ am writing to ask the court for mercy and leniency for him. I sincerely believe, if he were
given the opportunity, that he would redeem himself and follow through with any commitments he makes
to the court. And as his friend, I will be there to support him in the redemptive process the way he has
always supported me.

Thank you for your consideration.

Tyson Hess
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2/1/2021

To Honorable Judge Lamberth

My name is Alex Emmert, I have known Devlyn Thompson since the 7" grade. We went to the same elementary school
but actually became friends I think in the 7" grade in middle school. I didn’t really talk to people a lot I kept to myself
all the time. I remember walking in front of Devlyns house on the way to school everyday. One day Devlyn started
walking to school with me and we talked about sports. We both love sports. We would hang out at Wikersham and play
football. We would go to Wallys and play basketball a lot. Devlyn always stood up for me and didn’t judge me for
different. People would make fun of me and he would try to stand up for me. In high school we would go to the
basketball and football games. | even use to help coach basketball at our ald high school. I’ve known Devlyn for a long
time and Devlyns character is kind funny and smart. I call Devlyns mom mom still. ] will be here to support Devlyn in
anyway I can. I am asking your honor to please help my friend as he has always shown kindness to people that are
different. ] can’t imagine what he is going through right now but it can’t be good for someone like Devlyn.

Thank You Judge Lamberth

Alex Emmert
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11/30/2021

Honorable Judge Lamberth,

Hello, my name is Dustin South and | have been a friend of Deviyn Thompson for 15 plus years. We grew
up in the same neighborhood and went to the same school even though we are years apart in age.
Growing up Devlyn and | shared a similar interest in sports, which is what connected us. | remember
when we were younger, | would go across the street to his mom’s house to either play video games,
have wiffleball homerun derbies in his yard (and beat him) or play basketball (and more times than not
get beat lol}. Devlyn has never done me wrong and was a great part of my childhood memories.

As for outside of his love for sports, | also recall him always doing extracurriculars in school, | believe if |
remember right, he even was involved in the Associated Student Body at one point (as | said, we were 3
grades apart, so my memory on this isn’t as clear). He also took part in a few community events with his
mother, Michelle La Vergne.

Deviyn always was someone that took pride in or tried to excel in everything that he did, may it include
sports, taking care of his mother and younger brothers, his job or even community service. Him and |
were a part of a group that organized a 3 on 3 basketball tourney in the city of Buckley, Washington at
Wally’s Drive In, to help earn money to fix the lighting there so that people could play there while it got
darker. We went to all the local businesses to gain sponsors to hand out gift cards and other prizes to
the winners of the tournament. | know for sure we didn’t raise enough, but it was worth a try, and we
had good intentions and the city still fixed that light anyway, so we felt accomplished!

| really don’t know how to write one of these letters and | already feel as if this is too long and may not
have everything you’ re looking for, but if you’re looking for any form of clarity on who Devlyn Thompson
is as a person, | can sum it up right here. Deviyn Thompson is human. He’s a young man that will have
his friend’s and family’s back and someone that | have never lacked trust in. We may not be as close as
we were when | would beat him in wiffleball homerun derbies outside of his mother’s house, but he is
still someone that | take time out of my life to hang out with while he’s in my area and not caught up in
his family, work or figuring out his life. We as human are NOT AT ALL perfect, no matter how hard we
may want or try to be! Although, whatever the actions or recent events that went on at the Capital, |
believe that to be the furthest thing from Devlyn as a person. We all end up in situations at one point in
our lives that we look back on and learn from. I’m sure this whole process has been a real scary
experience for him that he'll never forget, and he’ll probably wish he never got involved in but will take
as a real learning moment. Sometimes we must go through those to grow as a human.

So, t sincerely wish for you to please take in this character letter before passing any verdict and to please
at your own will, allow this young man to have a second chance, with him taking this as a huge learning
opportunity, that won’t bare any weight on his chances to excel and continue on as the good human
that | know he is , due to being involved one bad situation that escalated more than he could probably
ever imagine.

Thank You,

Dustin South
